                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                3:08-CR-00259-RJC-DCK
 USA                                               )
                                                   )
    v.                                             )                  ORDER
                                                   )
 LORETTA BLAKENEY-HERRON (1)                       )
                                                   )

         THIS MATTER is before the Court upon motion of the defendant pro se to vacate a

mandatory minimum sentence in light of Alleyne v. United States, 133 S. Ct. 2151 (2013),

because facts used to impose her sentence were not found by a jury. (Doc. No. 321).

         The defendant’s conviction and sentence became final in 2010 when she did not file an

appeal following entry of the judgment. (Doc. No. 273: Judgment). Accordingly, the defendant

must seek relief pursuant to 28 U.S.C. § 2255. Additionally, the defendant’s reliance on Alleyne

is misplaced because she admitted the facts necessary to impose the two year mandatory

sentence for a violation of 18 U.S.C. § 1028A and waived a jury determination of her guilt.

(Doc. No. 133: Plea Agreement at 1, 6; Doc. No. 120: Acceptance and Entry of Guilty Plea at 3).

         IT IS, THEREFORE, ORDERED that the defendant’s motion, (Doc. No. 321), is

DENIED.

         The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, and to the United States Attorney.

 Signed: September 27, 2016




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